    Case 1:22-cv-23427-JEM Document 18-1 Entered on FLSD Docket 04/21/2023 Page 1 of 1

                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA

                              Case No. __________________
                                       1:22-CV-23427-JEM CV/CR ______________________________
                                                               JOSE MARTINEZ
                                                                   (Judge’s Last Name/Magistrate’s Last Name)



     VICTORIA CHRISTIAN RUSSELL
   _______________________________________/ Plaintiff(s)
   (Full Name of Plaintiff/s)
 v. BARON JEFFERSON RUSSELL
    ROBERT RUSSELL

    LISA RUSSELL

    VICKI Q. SMITH

   _______________________________________/Defendant(s)
   (Full Name of Defendant/s)

                                                        CERTIFICATION OF EMERGENCY

       I hereby certify that, as a member of the Bar of this Court, I have carefully examined this matter and it is a true
 emergency and that the urgency has not been caused by my or the party’s own dilatory conduct.

        After reviewing the facts and researching applicable legal principles, I certify that this motion in fact presents a
 true emergency (as opposed to a matter that may need only expedited treatment) and requires an immediate ruling
 because the Court would not be able to provide meaningful relief to a critical, non-routine issue after the expiration of
 seven days. I understand that an unwarranted certification may lead to sanctions.

               I further certify that I have made a bona fide effort to resolve this matter without the necessity of emergency action.
                        APRIL 20____.
                     21ST
Dated this _____ day of _________. 23
                                          /s/ Thomas Neusom
                               Signature: ______________________________________

                               Printed Name: ___________________________________
                                             THOMAS NEUSOM
                               Florida Bar Number: ______________________________
                                                   0037148
                                                 (954)200-3536
                               Telephone Number: ______________________________

===================================================================================
                            FOR CLERK'S OFFICE USE ONLY

         I hereby certify that the Judge assigned to this case is unavailable for this emergency. (A copy of notification to the Clerk
is on file). In accordance with the Court’s Internal Operating Procedures, the matter has been assigned to the Honorable
________________________ through a blind random assignment process. The assignment of this emergency matter shall be of
temporary duration, limited only to the immediate relief sought and the case for all other purposes or proceedings shall remain on
the docket of the Judge to whom it was originally assigned.

          [If Applicable] I hereby certify that the above Judge randomly assigned to this emergency is unavailable. (A copy of
notification to the Clerk is on file). Therefore, in accordance with the Court’s Internal Operating Procedures, the Honorable
____________________________ has subsequently been assigned to the matter through a blind random assignment procedure.
The assignment of this emergency matter shall be of temporary duration, limited only to the immediate relief sought and the case
for all other purposes or proceedings shall remain on the docket of the Judge to whom it was originally assigned.

Dated this ________day of _________, 20_____.

                                                         ANGELA E. NOBLE
                                                         Court Administrator · Clerk of Court

                                                         By:                                              , Deputy Clerk

                                                                                                                        December 2022

                                                     Print         Reset Form
